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                                                                      4




                         UNITED STATES DISTRICT COURT
                                                                                     Motion Denied
                                              for the
                                                                                      So ordered.
                                  District of Massachusetts
                                                                                      _____________
                                                                                        2/7/23
 JOSE MARIA DECASTRO, an individual               )   Case No. 1:22-cv-11421
                                                  )
 Plaintiff,                                       )   MOTION FOR RECONSIDERATION
                                                  )   OF PLAINTIFF’S MOTION TO
 v.                                               )   STRIKE
                                                  )
 JOSHUA ABRAMS, an individual, et al.,            )
                                                  )
 Defendants.                                      )
 ____________________________________

         MOTION FOR RECONSIDERATION OF PLAINTIFF’S MOTION TO STRIKE


      Plaintiff Jose DeCastro (“Plaintiff” or “I”), hereby moves this Honorable Court to

reconsider its denial of my emergency Motion To Strike Defednant Katherine Peter’s Late

Opposition to Plaintiff’s Second Motion for Contempt (“Motion”) at ECF No. 110. In support of

this motion, Plaintiff submits a memorandum of law, which is fully incorporated herein.

                                              Background

      On January 16, 2023, Plaintiff filed Plaintiff’s Second Motion For Contempt at ECF No.

103, asking for the court to bring judicial notice to this court of additional contempt by Peter.

The motion was immediately served by the ECF system to Peter.

      Pursuant to Local Rule 7.1(b)(2), Peter’s Opposition was due by January 30, 2023 (within

14 days after the motion is served). However, Peter filed her Opposition to Plaintiff’s Second

Motion For Contempt (“Opposition”) at ECF No. 109 on February 1, 2023, multiple days late.

      On February 2, 2033, Plaintiff filed an emergency Motion To Strike Defednant Katherine

Peter’s Late Opposition to Plaintiff’s Second Motion for Contempt at ECF No. 111, moving this
